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 8                                 UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                          SAN JOSE DIVISION
11   APPLE, INC., a California corporation,        )
12                                                 )
                 Plaintiff and Counterdefendant,   )          Case No.: 12-CV-00630-LHK
13                                                 )
            v.                                     )          VERDICT FORM
14                                                 )
     SAMSUNG ELECTRONICS CO., LTD., a              )
15
     Korean corporation; SAMSUNG                   )
16   ELECTRONICS AMERICA, INC., a New York )
     corporation; and SAMSUNG                      )
17   TELECOMMUNICATIONS AMERICA, LLC, )
     a Delaware limited liability company,         )
18                                                 )
                  Defendants and Counterclaimants. )
19
                                                   )
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21          We, the jury, unanimously agree to the answers to the following questions and return them
22   under the instructions of this Court as our verdict in this case:
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1
                         APPLE’S PATENT CLAIMS AGAINST SAMSUNG
 2
     1.     For each of the following products, has Apple proven by a preponderance of the
 3          evidence that Samsung Electronics Co. (“SEC”), Samsung Electronics America
            (“SEA”), and/or Samsung Telecommunications America (“STA”) has infringed
 4          Claim 9 of the ’647 Patent?
 5          Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
            Samsung). Do not provide an answer for any cell that is blacked out.
 6

 7                                        Samsung               Samsung              Samsung
      Accused Samsung Product
                                         Electronics           Electronics      Telecommunications
 8
                                          Co., Ltd.           America, Inc.        America, LLC
 9   Admire (JX28B, JX28C)
     Galaxy Nexus (JX29A,
10   JX29B, JX29C, JX29D,
     JX29E, JX29G, JX29H,
11   JX29I, JX72)
12   Galaxy Note (JX30A, JX30B,
     JX30C)
13   Galaxy Note II (JX31A,
     JX31B, JX31C)
14   Galaxy S II (JX32A, JX32B,
     JX32C, JX32D, JX32E,
15
     JX32F)
16   Galaxy S II Epic 4G Touch
     (JX33A, JX33B, JX33C)
17   Galaxy S II Skyrocket
     (JX34A, JX34B, JX34C,
18   JX34D)
19   Galaxy S III (JX35A, JX35B,
     JX35C, JX35D, JX35E,
20   JX35F, JX35G, JX35H,
     JX35I, JX35J, JX35L, JX35M,
21   JX35N, JX35O)
     Stratosphere (JX37A, JX37B)
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1   2.     For each of the following products, has Apple proven by a preponderance of the
            evidence that Samsung Electronics Co. (“SEC”), Samsung Electronics America
 2          (“SEA”), and/or Samsung Telecommunications America (“STA”) has infringed
            Claim 25 of the ’959 Patent?
 3
            Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
 4          Samsung). Do not provide an answer for any cell that is blacked out.
 5
                                           Samsung               Samsung              Samsung
 6    Accused Samsung Product             Electronics           Electronics      Telecommunications
                                           Co., Ltd.           America, Inc.        America, LLC
 7   Admire (JX28B, JX 28C)
     Galaxy Nexus (JX29A, JX29B,
 8
     JX29C, JX29D, JX29E,
 9   JX29G, JX29H, JX29I)
     Galaxy Note (JX30A, JX30B,
10   JX 30C)
     Galaxy Note II (JX31A,
11   JX31B, JX31C)
12   Galaxy S II (JX32B, JX32C,
     JX32E, JX32F)
13   Galaxy S II Epic 4G Touch
     (JX33A, JX33B, JX33C)
14   Galaxy S II Skyrocket
     (JX34A, JX34B, JX34C)
15
     Galaxy S III (JX35G, JX35H,
16   JX35I, JX35J, JX35M, JX35O)
     Galaxy Tab 2 10.1 (JX36C)
17   Stratosphere (JX37A)
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1   3.     For each of the following products, has Apple proven by a preponderance of the
            evidence that Samsung Electronics Co. (“SEC”), Samsung Electronics America
 2          (“SEA”), and/or Samsung Telecommunications America (“STA”) has infringed
            Claim 20 of the ’414 Patent?
 3
            Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
 4          Samsung). Do not provide an answer for any cell that is blacked out.
 5
                                          Samsung               Samsung              Samsung
 6    Accused Samsung Product            Electronics           Electronics      Telecommunications
                                          Co., Ltd.           America, Inc.        America, LLC
 7   Admire (JX28B, JX 28C)
     Galaxy Nexus (JX29A,
 8
     JX29B, JX29C, JX29D,
 9   JX29E, JX29G, JX29H,
     JX29I, JX72)
10   Galaxy Note (JX30A, JX30B,
     JX 30C)
11   Galaxy Note II (JX31A,
12   JX31B, JX31C)
     Galaxy S II (JX32A, JX32B,
13   JX32C, JX32D, JX32E,
     JX32F)
14   Galaxy S II Epic 4G Touch
     (JX33A, JX33B, JX33C)
15
     Galaxy S II Skyrocket
16   (JX34A, JX34B, JX34C,
     JX34D)
17   Galaxy S III (JX35A, JX35B,
     JX35C, JX35D, JX35E,
18   JX35F, JX35G, JX35H,
19   JX35I, JX35J, JX35L,
     JX35M, JX35N, JX35O)
20   Galaxy Tab 2 10.1 (JX36A,
     JX36B, JX36C, JX36D)
21   Stratosphere (JX37A, JX37B)

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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1   4.       For each of the following products, has Apple proven by a preponderance of the
              evidence that Samsung Electronics Co. (“SEC”) and/or Samsung
 2            Telecommunications America (“STA”) has infringed Claim 8 of the ’721 Patent?
 3            Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
              Samsung). Do not provide an answer for any cell that is blacked out.
 4

 5                                           Samsung               Samsung              Samsung
          Accused Samsung Product           Electronics           Electronics      Telecommunications
 6                                           Co., Ltd.           America, Inc.        America, LLC
     Admire (JX28B)
 7   Galaxy Nexus (JX29A, JX29B,
 8   JX29C, JX29D, JX29E, JX29H,
     JX29I, JX72)
 9   Galaxy S II (JX32C, JX32E)
     Galaxy S II Epic 4G Touch
10   (JX33A, JX33B)
     Galaxy S II Skyrocket (JX34C)
11   Stratosphere (JX37A)
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
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 2   5.     If you found that Samsung Electronics America (“SEA”) or Samsung
            Telecommunications America (“STA”) infringed in Questions 1-4, has Apple proven
 3          by a preponderance of the evidence that Samsung Electronics Co. (“SEC”) took
            action that it knew or should have known would induce SEA or STA to infringe the
 4          ’647 Patent, ’959 Patent, ’414 Patent, and/or ’721 Patent?
 5          Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
            Samsung). Do not provide an answer for any cell that is blacked out.
 6
                                                ’647            ’959           ’414           ’721
 7        Accused Samsung Product              Patent          Patent         Patent         Patent
 8   Admire (JX28)
     Galaxy Nexus (JX29)
 9
     Galaxy Note (JX30)
10   Galaxy Note II (JX31)
     Galaxy S II (JX32)
11   Galaxy S II Epic 4G Touch (JX33)
12   Galaxy S II Skyrocket (JX34)
     Galaxy S III (JX35)
13   Galaxy Tab 2 10.1 (JX36)
     Stratosphere (JX37)
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     6.     For each of the following products, has Apple proven by a preponderance of the
16          evidence that Samsung Electronics Co. (“SEC”) took action it knew or should have
            known would contribute to infringement of the ’647 Patent, ’959 Patent, ’414 Patent,
17          and/or ’721 Patent?

18          Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
            Samsung). Do not provide an answer for any cell that is blacked out.
19
                                                ’647            ’959           ’414           ’721
20        Accused Samsung Product              Patent          Patent         Patent         Patent

21   Admire (JX28)
     Galaxy Nexus (JX29)
22   Galaxy Note (JX30)
     Galaxy Note II (JX31)
23
     Galaxy S II (JX32)
24   Galaxy S II Epic 4G Touch (JX33)
     Galaxy S II Skyrocket (JX34)
25   Galaxy S III (JX35)
     Galaxy Tab 2 10.1 (JX36)
26
     Stratosphere (JX37)
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1   7.     Has Apple proven by clear and convincing evidence that the Samsung entity’s
            infringement of any of the following patents was willful?
 2
            Please answer in each cell with a “Y” for “yes” (for Apple), or with an “N” for “no” (for
 3          Samsung). Do not provide an answer for any cell that is blacked out.
 4                                             Samsung           Samsung             Samsung
                Apple Patents                 Electronics       Electronics     Telecommunications
 5                                             Co., Ltd.       America, Inc.       America, LLC
     ’647 Patent (Claim 9)
 6   ’959 Patent (Claim 25)
 7   ’414 Patent (Claim 20)
     ’721 Patent (Claim 8)
 8   ’172 Patent (Claim 18)
 9

10   8.     Has Samsung proven by clear and convincing evidence that Apple’s asserted patent
            claims are invalid?
11
             ’647 Patent (Claim 9)         Yes ____ (for Samsung)        No ____ (for Apple)
12
             ’959 Patent (Claim 25)        Yes ____ (for Samsung)        No ____ (for Apple)
13

14           ’414 Patent (Claim 20)        Yes ____ (for Samsung)        No ____ (for Apple)

15           ’721 Patent (Claim 8)         Yes ____ (for Samsung)        No ____ (for Apple)

16           ’172 Patent (Claim 18)        Yes ____ (for Samsung)        No ____ (for Apple)

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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
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                   DAMAGES TO APPLE FROM SAMSUNG (IF APPLICABLE)
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     9.     What is the total dollar amount that Apple is entitled to receive from Samsung on
 3          the claims on which you have ruled in favor of Apple?
 4

 5                               $ _________________________________.
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 7   10.    a. For the total dollar amount in your answer to Question 9, please provide in the
            chart on the next page the dollar breakdown for each product. Do not provide an
 8          answer for any cell that is blacked out.
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
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                                      Accused              ’647 Patent          ’959 Patent             ’414 Patent         ’721 Patent       ’172 Patent
                                      Samsung                                                                                                                       TOTAL
                                                             Claim 9             Claim 25                Claim 20             Claim 8          Claim 18
                                      Product

                                       Admire




VERDICT FORM
                                       (JX28)

                                     Galaxy Nexus
                                        (JX29)




Case No.: 12-CV-00630-LHK
                                     Galaxy Note
                                       (JX30)

                                 Galaxy Note II
                                    (JX31)

                                      Galaxy S II




                            9
                                       (JX32)

                                 Galaxy S II Epic
                                    4G Touch
                                     (JX33)
                                      Galaxy S II
                                      Skyrocket
                                       (JX34)
                                     Galaxy S III
                                       (JX35)

                                     Galaxy Tab 2
                                         10.1
                                        (JX36)
                                     Stratosphere
                                        (JX37)
 1
            b. For the dollar amount in your answer to Question 10.a., please provide the dollar
 2          breakdown for the following products and following periods:
 3   Accused Samsung Product       August 1, 2011 –        July 1, 2012 –      August 25, 2012 -
 4                                  June 30, 2012         August 24, 2012          Present
     Galaxy S II (JX32)
 5   Galaxy S II Epic 4G Touch
 6   (JX33)
     Galaxy S II Skyrocket
 7   (JX34)
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     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1
                         SAMSUNG’S PATENT CLAIMS AGAINST APPLE
 2
     11.    For each of the following products, has Samsung proven by a preponderance of the
 3          evidence that Apple has infringed Claim 15 of the ’239 Patent?
 4          Please answer in each cell with a “Y” for “yes” (for Samsung), or with an “N” for “no”
            (for Apple).
 5
                                  Accused Apple Product ’239 Patent
 6
                                  iPhone 4 (JX38)
 7                                iPhone 4S (JX39)
                                  iPhone 5 (JX40)
 8

 9

10   12.    For each of the following products, has Samsung proven by a preponderance of the
            evidence that Apple has infringed Claim 27 of the ’449 Patent?
11
            Please answer in each cell with a “Y” for “yes” (for Samsung), or with an “N” for “no”
12          (for Apple).

13                                Accused Apple Product ’449 Patent
                                 iPhone 4 (JX38)
14
                                 iPhone 4S (JX39)
15                               iPhone 5 (JX40)
16                               iPod touch, 4th gen. (JX45)
                                 iPod touch, 5th gen. (JX46)
17

18

19   13.    Has Samsung proven by clear and convincing evidence that Apple’s infringement of
            any of the following patents after April 18, 2012 was willful?
20
            Please answer in each cell with a “Y” for “yes” (for Samsung), or with an “N” for “no”
21          (for Apple).

22                                   Samsung Patents            Apple
                                  ’239 Patent (Claim 15)
23                                ’449 Patent (Claim 27)

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                                                    11
     Case No.: 12-CV-00630-LHK
     VERDICT FORM
 1
                    DAMAGES TO SAMSUNG FROM APPLE (IF APPLICABLE)
 2
     14.      What is the total dollar amount that Samsung is entitled to receive from Apple on
 3            the claims on which you have ruled in favor of Samsung?
 4

 5                                 $ _________________________________.
 6

 7   15.      For the total dollar amount in your answer to Question 14, please provide in the
              chart below the dollar breakdown for each product. Do not provide an answer for any
 8            cell that is blacked out.
 9

10                                 ’449 Patent            ’239 Patent
           Accused Apple                                                           TOTAL
11            Product               Claim 27               Claim 15
     iPhone 4
12   (JX38)
13   iPhone 4S
     (JX39)
14
     iPhone 5
15   (JX40)
     iPod Touch, 4th gen.
16   (JX46)
17   iPod Touch, 5th gen.
     (JX45)
18

19
     Have the presiding juror sign and date this form.
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23   Signed: ________________________________               Date: ____________________
             PRESIDING JUROR
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                                                     12
     Case No.: 12-CV-00630-LHK
     VERDICT FORM
